Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 1 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 2 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 3 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 4 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 5 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 6 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 7 of 8
Case 4:05-cr-00305-SWW   Document 870   Filed 03/15/07   Page 8 of 8
